                                Case 2:22-mj-01647 Document 3 Filed 10/24/22 Page 1 of 1

AO 442 (Rev. 11/11) Arrest Warrant (approved by AUSA Kang and AUSA Ashenfelter)



                                           UNITED STATES DISTRICT COURT
                                                                          for the

                                                        Eastern District of Pennsylvania


                   United States of America
                                    v.                                      )
                                                                            )        Case No. 22-mj-1647
                           SAMlRAHMAD                                       )
                                                                            )
                                                                            )
                                                                            )
                              Defendant


                                                            ARREST WARRANT
To:       Any authorized law enforcement officer


           YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
 (name of person to be arrested)         SAMIR AHMAD
                                     ------------------------------------------------------------------------
 who is accused of an offense or violation based on the following document filed with the court:

 o    Indictment            o      Superseding Indictment         o   Information        o   Superseding Information            ~ Complaint

 o    Probation Violation Petition             o   Supervised Release Violation Petition            o Violation    Notice        0 Order of the Court

 This offense is briefly described as follows:

  On or about October 13, 2022, the defendant, who is not licensed to deal in firearms, sold two firearms and ammunition,
  affecting interstate and foreign commerce, to an individual he had reasonable cause to believe was illegally or unlawfully in
  the United States, in violation of 18 U.S.C., Sees. 922(d)(5)(A) and 933.




            10/18/2022
                                                                                               /s/ Lynne A. Sitarski
 Date:
                                                                                                     Issuing officer's signature


 City and state:         Philadelphia, PA                                                       Honorable Lynne A. Sitarski
                                                                                                       Printed name and title


                                                                          Return

             This warrant was received on (date)          IO/Li/20U               , and the person was arrested on (date)          /0/1 'f/z..04:...
  at (city and state)  PHlt..ACfLPJ.IJ~. PA


  Date:     /0 /~, / Z.OZ-c..

                                                                                    TYLf.@... L.   I!£LIVI:>             SPf~L         &£NL      fB J
                                                                                                        Printed name and title
